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                      IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF NEW MEXICO
                               ______________________



ESTATE OF JOSHUA STEVENS, deceased,
by and through its personal representative, ALYSAN
BOOTHE COLLINS,

                      Plaintiff,

v.                                                                No. CV 14-00882 WJ/KK

BOARD OF COUNTY COMMISSIONERS OF THE
COUNTY OF SAN JUAN, et al.,

                      Defendants.


        MEMORANDUM OPINION AND ORDER GRANTING IN PART AND
     DENYING IN PART DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

       THIS MATTER comes before the Court upon the motion for summary judgment (Doc.

43) filed by Defendants Board of County Commissioners of the County of San Juan (hereinafter

“the Board”) and Thomas C. Havel on August 28, 2014. Having reviewed the parties‟ briefs and

applicable law, the Court finds that the motion is well taken in part and, therefore, is GRANTED

IN PART AND DENIED IN PART as herein described.

                                        BACKGROUND

       Unless otherwise indicated, the facts described herein are not in dispute. Decedent Joshua

Stevens was arrested and incarcerated without bond at the San Juan County Adult Detention

Center (“SJCADC”) on April 15, 2012. This was not Stevens‟ first visit to SJCADC; medical

records from the facility document his mental health treatment there throughout late 2003, early

2004, and early 2005. Among those documents are records indicating that Stevens tried to
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commit suicide several times by cutting his wrists, by cutting his arm and chest, by attempting to

choke on a bottle cap, and by hanging.

        During the booking process in April 2012, the arresting officer completed an Arresting

Officer Questionnaire in which he stated that neither Stevens nor any other knowledgeable

individual had given any indications that Stevens was suicidal. The SJCADC booking officer

also completed a Suicide Prevention Screening form in which he indicated that Stevens showed

signs of depression, that Stevens had a history of suicide attempts, and that he did not believe

Stevens was presently a suicide risk.

        Also during the booking process, an employee of Correctional Healthcare Companies

(“CHC”), the contractor providing medical services at SJCADC, recorded that Stevens had a

history of mental health treatment and suicide attempts but that Stevens was not currently

suicidal. The CHC employee then stated, “[Stevens] put on observation for mental health.

[Stevens] has been having crying spells and mood has been up and down.” A concurrent entry in

Stevens‟ “Problem Oriented Record” says that Stevens said he was being treated for bipolar

disorder and depression, that Stevens could not remember what medications he took but that he

believed he needed them, and that Stevens currently had no suicidal tendencies. This entry

suggests that the decision to place Stevens “on observation” in the SJCADC medical unit was

made by a Sergeant Alford.

        On April 17, 2012, while still under observation in the medical unit, Stevens appeared to

be very anxious and insisted that he needed medication. CHC staff prescribed citalopram and

trazodone, which are used to treat depression,1 and hydroxyzine, which is indicated for anxiety




1
 See PHYSICIANS‟ DESK REFERENCE (PDR) 1269, 3299 (59th ed. 2005); Nat‟l Insts. of Health, Trazodone,
MEDLINEPLUS, http://www.nlm.nih.gov/medlineplus/druginfo/meds/a681038.html (last accessed October 28, 2014).

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and other symptoms.2 Although CHC policy appears to call for initials on a patient‟s Medication

Sheet & Administration Record every time medication is administered or refused, Stevens‟ sheet

only shows staff initials for appropriate administrations of trazodone and hydroxyzine but none

for citalopram. On the other hand, progress notes state that the citalopram prescription was

successfully started on April 18 and that Stevens was told to “continue taking medication as

prescribed.” Stevens also signed a form indicating refusal to continue with citalopram on April

27; CHC policy allows a patient to sign that form only after his third refusal to take medication,

and the form itself gives the reason for refusal as “Don‟t get up in the morning,” suggesting that

Stevens may have taken the medication on several occasions.

        Meanwhile, on April 18, Stevens told a social worker that he was not suicidal, that he

was not a risk to himself or others, that he was looking forward to the future, and that he would

request mental health services if he needed them. The parties agree that Stevens was transferred

out of medical observation and into the general prison population that day. Despite noting

sleeping problems on April 22, the following day Stevens was in a good mood with hope for the

future and without any suicidal ideation. A CHC nurse recorded on April 28 that Stevens was

fidgety and anxious and talking about problems with his wife, but he appeared calmer by the end

of his visit. The nurse reviewed the procedures for obtaining medical or mental health services

with Stevens before he left.

        On the morning April 29, 2012, Stevens entered a shower stall, tied a sheet through a

vent, and hanged himself. He was found some time later by another inmate, and SJCADC guards

arrived within one minute of being informed of the matter. Stevens died in a nearby hospital a

few days later.


2
 See Nat‟l Insts. of Health, Hydroxyzine, MEDLINEPLUS, http://www.nlm.nih.gov/medlineplus/druginfo/
meds/a682866.html (last accessed October 28, 2014).

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       A subsequent investigation revealed a number of phone calls made by Stevens to persons

outside of SJCADC, but the parties agree that none of the recipients or any other person notified

SJCADC that Stevens was experiencing suicidal ideation. The parties disagree as to whether

other inmates knew that Stevens might be suicidal, but both sides concede that these inmates did

not tell any SJCADC officers about any concerns prior to Stevens‟ death.

       The representative of Stevens‟ estate filed this action in September 2013, naming the

Board, SJCADC Administrator Havel, and CHC as Defendants. Plaintiff also listed as

Defendants multiple unnamed John Doe / Jan Doe individuals, dubbed “Correctional Officer

Defendants,” who were “employees, agents, SJCADC correctional officers, SJCADC staff, or

CHC personnel assigned to provide medical and/or mental health services at SJCADC.” Count I,

brought pursuant to 42 U.S.C. § 1983, alleges that “[t]he Correctional Officer Defendants[]”

were deliberately indifferent to Stevens‟ needs by failing to recognize his depression and suicidal

tendencies and by failing to provide him with appropriate supervision and medical care, all in

violation of the Fourteenth Amendment. Count II, also brought under § 1983, states that San

Juan County, Havel, and CHC all “failed to train and/or failed to supervise Correctional Officer

Defendants regarding a pretrial detainee‟s right to humane conditions of confinement as

guaranteed by the Fourteenth Amendment.” Three other claims allege violations of state law.

       The Board and Havel filed the instant summary judgment motion on August 28, 2014,

asserting that no genuine issues of fact exist as to the claims against them and the SJCADC

employees and that they are entitled to judgment as a matter of law on those claims. The Court

granted a motion for judgment on the pleadings as to CHC and its unnamed employees with

respect to Counts I and II on October 16, 2014. See (Doc. 55).




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                                        LEGAL STANDARD

       Summary judgment is appropriate where the pleadings, discovery materials, and

affidavits show that “there is no genuine dispute as to any material fact and the movant is entitled

to judgment as a matter of law.” FED. R. CIV. P. 56(a); see also Celotex Corp. v. Catrett, 477

U.S. 317, 322-24 (1986). A fact is “material” if, under the governing law, it could have an effect

on the outcome of the lawsuit, and the dispute is “genuine” if a rational jury could find in favor

of the nonmoving party on the evidence presented. Anderson v. Liberty Lobby, Inc., 477 U.S.

242, 248 (1986) (citations omitted). In ruling on a motion for summary judgment, the Court may

neither make credibility determinations nor weigh the evidence but must view the record and

draw all reasonable inferences in the light most favorable to the nonmoving party. See Gossett v.

Oklahoma, 245 F.3d 1172, 1175 (10th Cir. 2011) (quotation omitted).

       The party seeking summary judgment bears the initial burden of showing that there is an

absence of evidence to support the nonmoving party‟s case. See, e.g., Celotex, 477 U.S. at 323;

Bacchus Indus., Inc. v. Arvin Indus., Inc., 939 F.2d 887, 891 (10th Cir. 1991). Once the movant

meets this burden, the nonmoving party must designate specific facts showing that there is a

genuine issue for trial. See, e.g., Celotex, 477 U.S. at 324; Anderson, 477 U.S. at 256. The

existence of some alleged, immaterial factual dispute between the parties or a mere “scintilla of

evidence” supporting the nonmoving party‟s position will not defeat an otherwise properly

supported motion for summary judgment. See Anderson, 477 U.S. at 252, 256.

                                           DISCUSSION

       Before analyzing the Board and Havel‟s arguments and Plaintiff‟s counterarguments, it is

important to make clear what the Court is considering with these motions. The Board and Havel

only challenge Plaintiff‟s claims insofar as they are brought against these particular Defendants



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and their employees; they do not challenge Plaintiffs‟ claims against CHC and its employees. As

such, for purposes of resolving the instant motion, the Court will only consider the allegations

against CHC and its unnamed employees to the extent that they relate to her claims against the

Board, Havel, and unnamed SJCADC officers and employees.

   I.      Federal Claim Against Individual-Capacity SJCADC Employees

        Count I alleges that unnamed SJCADC employees were deliberately indifferent to

Stevens‟ serious medical needs, in violation of the protections afforded to pretrial detainees such

as Stevens under the Fourteenth Amendment. The Board and Havel contend that SJCADC

officers were not on notice of Stevens‟ suicidal plans or ideation and that these officers did not

either fail to take appropriate action or act in wanton disregard of his needs. Plaintiff responds

that SJCADC personnel were aware of Stevens‟ mental health history and that the facility has a

history of systemic failures in providing medical and mental health treatment to inmates.

        A. Merits

        “[C]laims based on a jail suicide are considered and treated as claims based on the

failure of jail officials to provide medical care for those in their custody.” Barrie v. Grand

County, Utah, 119 F.3d 862, 866 (10th Cir. 1997). Such claims are analyzed pursuant to the

“deliberate indifference” standard under the Fourteenth Amendment. See id. at 868-69; see also

Farmer v. Brennan, 511 U.S. 825, 828-29 (1994) (citations omitted); Sealock v. Colorado, 218

F.3d 1205, 1211 (10th Cir. 2000) (“[D]eliberate indifference [can] occur[] when prison officials

prevent an inmate from receiving treatment or deny him access to medical personnel capable of

evaluating the need for treatment.”); Estate of Hocker v. Walsh, 22 F.3d 995, 998 (10th Cir.

1998) (“Under the Fourteenth Amendment‟s Due Process Clause, pretrial detainees are entitled




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to the same degree of protection against denial of medical care as that afforded to convicted

inmates under the Eighth Amendment.”).

         The deliberate indifference standard features objective and subjective components.

“Under the objective inquiry, the alleged deprivation [of care] must be „sufficiently serious‟ to

constitute a deprivation of constitutional dimension.” Self v. Crum, 439 F.3d 1227, 1230 (10th

Cir. 2006) (quoting Farmer, 511 U.S. at 834). To establish the subjective component, the

plaintiff must show that the defendant “kn[ew] of and disregard[ed] an excessive risk to inmate

health or safety; [at the time of the deprivation,] the official must both be aware of facts from

which the inference could be drawn that a substantial risk of serious harm exists, and he must

also draw the inference.” See Farmer, 511 U.S. at 837; see also Callahan v. Poppell, 471 F.3d

1155, 1159 (10th Cir. 2006) (“To prevail on the subjective component, the prisoner must show

that the defendants „knew he faced a substantial risk of harm and disregarded that risk, by failing

to take reasonable measures to abate it.‟” (quotation omitted)).

         Here, the Board and Havel challenge only the subjective component of Plaintiff‟s

deliberate indifference claim, so the Court assumes for purposes of resolving this motion that the

objective component has been established.3 Still, these Defendants have shown that there is no

evidence to satisfy the subjective prong as to the unnamed SJCADC employees, and Plaintiff has

not shown any specific facts showing that a genuine dispute of material fact exists on this

question. More specifically, Plaintiff has failed to produce evidence to show that unnamed

SJCADC employees knew of facts showing that a substantial risk of serious harm to Stevens

might exist or that those employees concluded from those facts that such a risk actually existed.

Plaintiff concedes that Stevens told the SJCADC booking officer that he was not suicidal upon

3
 “Death is, „without doubt, sufficiently serious to meet the objective component necessary to implicate the [Eighth
and] Fourteenth Amendment[s].‟” Layton v. Bd. of Cnty. Comm’rs, 512 F. App‟x 861, 868 (10th Cir. 2013)
(unpublished) (quoting Martinez v. Beggs, 563 F.3d 1082, 1088 (10th Cir. 2009)) (alternations in original).

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booking, that Stevens told several Correctional Officer Defendants that he was not at risk to

himself, that SJCADC officers had not listened in on any of Stevens‟ phone calls where contrary

statements may have been made, that none of Stevens‟ contacts reported that he was suicidal,

and that SJCADC officers responded promptly upon the discovery of Stevens‟ attempted suicide.

The Board and Havel also state, and Plaintiff does not dispute, that “none of the SJC[A]DC

officers saw any signs of suicidal ideation” in Stevens on the morning of his suicide, and none of

the evidence on record suggests that any SJCADC officer saw any such signs prior to that date.

The picture is even further complicated by the fact that Plaintiff does not clearly identify the

SJCADC employees who allegedly committed any wrongful acts.4

         Plaintiff suggests that unnamed CHC employees may have disregarded a known risk of

harm by failing to properly administer certain prescribed medications to Stevens. However, the

evidence and allegations relating to this argument have no bearing on whether unnamed

SJCADC employees disregarded such a risk and failed to take reasonable measures to address it.

Plaintiff neither alleges nor provides evidence that SJCADC employees themselves prevented

Stevens from receiving treatment or denied him access to medical personnel.

         Plaintiff does submit a deposition transcript showing SJCADC Operations Lieutenant Jim

Calhoun knew of at least one of Stevens‟ previous suicide attempts from the previous decade,

which might arguably create a genuine question as to whether Calhoun drew an inference that a

risk of harm existed or possessed facts from which that inference could be drawn. However,

Calhoun is not named as a Defendant to Count I or any other claim, and Plaintiff does not

provide any evidence that Calhoun learned of Stevens‟ prior suicides from the unnamed

4
  For similar reasons, the Court has already dismissed Count I as to the unnamed CHC employees for Plaintiff‟s
failure to provide fair notice of the basis for her claims against them. Although the Board and Havel assert in a short
footnote that this reasoning would apply equally to the unnamed SJCADC employees, “[t]he court will not consider
such issues adverted to in a perfunctory manner, unaccompanied by some effort at developed argumentation.”
United States v. Wooten, 377 F.3d 1134, 1145 (10th Cir. 2004).

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SJCADC Defendants, that Calhoun relayed his knowledge to these Defendants, or that Calhoun‟s

knowledge and inferences could be imputed to these Defendants. See duBois v. Payne Cnty. Bd.

of Cnty. Comm’rs, 543 F. App‟x 841, 846-48 (10th Cir. 2013) (unpublished) (rejecting plaintiff‟s

argument that defendants‟ knowledge of decedent‟s suicidal condition could be inferred from

their fellow employees‟ knowledge of this condition).

         Plaintiff also provides evidence that it was a SJCADC employee, known only as “Sgt.

Alford,” who made the initial decision to place Stevens under observation in the facility‟s

medical unit upon booking. Yet as Plaintiff concedes, there is no evidence establishing why

Stevens was placed under observation by Sgt. Alford, and the only documentation

contemporaneous with that decision records Stevens‟ denials of suicidal ideation at the time of

his arrest and booking. Moreover, even assuming that the unknown Sgt. Alford is one of the

Defendants targeted by Count I,5 his decision to place Stevens under medical observation would

hardly seem to constitute a “fail[ure] to take reasonable measures to abate” a risk of suicide. See

Callahan, 471 F.3d at 1159.

         B. Rule 56(d) Affidavit

         Nonetheless, Plaintiff argues that summary judgment as to this claim is not appropriate

because further discovery is necessary in order for her to respond to the Board and Havel‟s

arguments. Federal Rule of Civil Procedure 56(d) provides that the Court may defer

consideration of a summary judgment motion, allow time for additional discovery, or deny the

motion completely “[i]f a nonmovant shows by affidavit or declaration that, for specified

reasons, it cannot present facts essential to justify its opposition.” FED. R. CIV. P. 56(d). “A party

seeking to defer a ruling on summary judgment” pursuant to this Rule “must „file an affidavit


5
 Plaintiff has never sought to join Sgt. Alford to this action or otherwise amend her complaint to state a claim
against him.

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that explain[s] why facts precluding summary judgment cannot be presented.‟” Libertarian Party

of N.M. v. Herrera, 506 F.3d 1303, 1308 (10th Cir. 2007) (quoting Trask v. Franco, 446 F.3d

1036, 1042 (10th Cir. 2006)). To satisfy this standard, the party must (1) identify the unavailable

facts, (2) identify the steps already taken to acquire those facts, and (3) show how additional time

will allow her to rebut the summary judgment movant‟s arguments. See F.D.I.C. v. Arciero, 741

F.3d 1111, 1116 (10th Cir. 2013) (quoting Trask, 446 F.3d at 1042); see also Comm. for the First

Amendment v. Campbell, 962 F.2d 1517, 1522 (10th Cir. 1992).

       Pursuant to Rule 56(d), Plaintiff‟s attorney Robert F. Gentile filed an affidavit asserting

that “[n]ecessary discovery essential to further justify Plaintiffs‟ position against these

Defendants remains outstanding. Specifically, the depositions of Mr. Havel and Ms. Jo Davis

have not yet been taken.” (Doc. 54 Ex. 12). Gentile then refers to a letter that former SJCADC

social worker Davis wrote regarding “significant deficiencies with the medical health care being

provided to the SJCADC inmates,” specifying a host of alleged problems with the treatment of

detainees by CHC staff. Gentile also argues that this letter shows that Havel was aware of the

“grave concerns” that existed at SJCADC.

       The Davis letter does not discuss any purported wrongdoing by SJCADC corrections

officers, and Gentile does not explain how Davis‟s deposition would allow Plaintiff to rebut the

arguments raised by the Board and Havel regarding Count I. Nor does Gentile explain how

Havel‟s deposition would allow Plaintiff to better respond to the instant motion as it pertains to

this claim. For that matter, Gentile does not identify any unavailable facts relating to Count I or

the steps already taken to acquire those facts prior to the depositions of Davis and Havel.

Gentile‟s simple assertion that this “outstanding discovery is essential for Plaintiff[] to prove that

genuine issues of material fact exist” will not suffice for Rule 56(d) purposes. See Libertarian



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Party, 506 F.3d at 1308 (noting that a party opposing summary judgment may not invoke Rule

56(d) “by simply stating that discovery is incomplete”). Finally, to the extent that Plaintiff‟s

arguments in her response brief address any of these factors, such argumentation is “obviously

insufficient” to comply with Rule 56(d)‟s affidavit requirement. See Hackworth v. Progressive

Cas. Ins. Co., 468 F.3d 722, 732 (10th Cir. 2006) (citation omitted).

         C. Conclusion

         In short, the Board and Havel have shown that there is an absence of evidence to support

a claim against the unnamed SJCADC employees in their individual capacities, and Plaintiff has

failed to designate specific facts showing that a genuine issue of material fact exists as to this

claim. Additionally, Plaintiff has not shown that relief under Rule 56(d) is proper. Accordingly,

the unnamed SJCADC employees are entitled to judgment as a matter of law as to Plaintiff‟s

claim of deliberate indifference against them in their individual capacities.

   II.      Federal Claims Against the Board

         A. Deliberate Indifference of Official-Capacity SJCADC Employees

         Although Count I is only aimed at “Correctional Officer Defendants,” including unnamed

SJCADC employees, Plaintiff does not specify whether the claim is brought against these

employees in their individual or official capacities. Since the caption of Plaintiff‟s complaint

names these parties in both capacities, the Court will consider the viability of Count I against

them in their official capacity.

         “[O]fficial-capacity suits generally represent only another way of pleading an action

against an entity of which an officer is an agent . . . .” Monell v. Dep’t of Soc. Servs., 436 U.S.

658, 690 n.55 (1978). “As long as the government entity receives notice and an opportunity to

respond, an official-capacity suit is, in all respects other than name, to be treated as a suit against



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the entity”—in this case the Board. See Kentucky v. Graham, 473 U.S. 159, 166 (1985) (citation

omitted).

       Municipal liability under § 1983 cannot be established under a theory of respondeat

superior. See Dodds v. Richardson, 614 F.3d 1185, 1202 (10th Cir. 2010). Instead, a plaintiff

must establish the existence of a constitutional violation, a specific policy or custom, and a direct

causal link between the two showing that the entity itself was a “moving force” behind the

violation. See Graham, 473 U.S. at 166; see also Dodds, 614 F.3d at 1202 (citation omitted). The

causal link may be established by showing that the policy or custom “disregards a known or

obvious risk that is very likely to result in the violation of a prisoner‟s constitutional rights.” See

Berry v. City of Muskogee, Okla., 900 F.2d 1489, 1496 (10th Cir. 1990).

       As to the purported constitutional violation in this case, Defendants challenge only the

subjective portion of Count I. However, the analysis here differs from the individual-capacity

analysis because Plaintiff claims that the Board was put on notice of the potential for such

violations via the letter sent by Davis. In her letter, Davis relates incidents where health care

workers failed to timely verify inmates‟ prescription needs, improperly administered or withheld

medication, and inadequately documented medical treatment. She notes that the problems were

particularly affecting inmates with mental health issues, and she adds that the administration was

pressuring medical staff to move these inmates out of medical housing despite their needs. This

letter was addressed to Havel and certain CHC executives, among others, and it is dated April 3,

2012, less than a month before Stevens‟s death.

       Last year, the Tenth Circuit considered a deliberate indifference claim brought by the

estate of an inmate who died of kidney failure. See Layton v. Bd. of Cnty. Comm’rs, 512 F.

App‟x 861, 863-64 (10th Cir. 2013) (unpublished). Prior to the inmate‟s death, which his estate



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alleged could have been prevented by proper care, the U.S. Department of Justice and several

state agencies produced reports citing multiple instances where inmates had been poorly

supervised or denied access to necessary medical care and prescription medication. See id. at

864-67. Reversing a trial court grant of summary judgment, the Tenth Circuit clarified that to

satisfy the subjective component of her claim, “[the plaintiff] merely needed to present evidence

that [the decedent] faced a substantial risk of serious harm of which the prison officials were, or

should have been, aware.” Id. at 870 (citation needed); see also Farmer, 511 U.S. at 842 (“[A]

claimant need not show that a prison acted or failed to act believing that harm actually would

befall an inmate; it is enough that the official acted or failed to act despite his knowledge of a

substantial risk of harm.”); Tafoya v. Salazar, 516 F.3d 912, 916 (10th Cir. 2008) (“The official‟s

knowledge of the risk need not be knowledge of a substantial risk to a particular inmate, or

knowledge of the particular manner in which injury might occur.”). Knowledge of a substantial

risk may be demonstrated through “inference from circumstantial evidence,” see Layton, 512 F.

App‟x at 870 (quoting Gonzales v. Martinez, 403 F.3d 1179, 1183 (10th Cir. 2005)), and the

court concluded that a triable issue of fact existed as to whether the DOJ and agency reports

made the supervising county and its sheriff aware of “longstanding, systemic deficiencies in the

medical care that the jail provided to detainees,” see id. at 869-70.

       Although Layton is an unpublished, nonbinding opinion, the Court finds its reasoning

persuasive. Here, the parties provide conflicting evidence and arguments as to whether Stevens

received necessary prescription medication and mental health services from staff employed by

CHC, the SJCADC medical contractor. Plaintiff has also raised an issue of fact as to whether

these purported deficiencies resulted from systemic problems at SJCADC, whether Havel

became aware of them through Davis‟s letter to him, and whether Stevens‟ suicide was caused



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by these alleged deficiencies. In short, Plaintiff has produced evidence suggesting that genuine

issues of material fact remain as to the existence of a constitutional violation.

       Moreover, the questions raised by Davis‟s letter to Havel and others could lead a fact

finder to conclude that the alleged constitutional violation was the direct result of an

unconstitutional policy or practice. “The deliberate indifference standard [in the municipal

liability context] may be satisfied when the municipality has actual or constructive notice that its

action or failure to act is substantially certain to result in a constitutional violation, and it

consciously or deliberately chooses to disregard the risk of harm.” Barney v. Pulsipher, 143 F.3d

1299, 1307 (10th Cir. 1998) (citing Bd. of Cnty. Comm’rs v. Brown, 520 U.S. 397, 407 (1997)).

A reasonable fact finder might conclude that Havel is “a final policymaker with regard to

[SJCADC], such that his actions „may fairly be said to be those of the [Board],‟” Lopez v.

LeMaster, 172 F.3d 756, 763 (10th Cir. 1999) (quoting Brown, 520 U.S. at 404), that he was on

notice of deficiencies at the facility, that he failed to address them, and that these failures

constituted deliberate indifference. See Layton, 512 F. App‟x 871-72 (citing Tafoya, 516 F.3d at

920). Finally, Plaintiff has produced evidence from which a reasonable fact finder could

conclude that Stevens might have received appropriate mental health treatment if not for these

alleged deficiencies and that these problems were therefore the “moving force” behind the

alleged violation of Stevens‟ constitutional rights. See Graham, 473 U.S. at 166.

       Plaintiff has “presented evidence of disputed material facts sufficient to create a genuine

question as to whether [the Board] was deliberately indifferent to the conditions at [SJCADC].”

See Tafoya, 516 F.3d 921. The Court therefore concludes that the unnamed SJCADC employees

in their official capacity—which is to say, the Board, see Graham, 473 U.S. at 166—are not

entitled to summary judgment as to Count I.



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        B. Deliberate Indifference for Failure to Train and Failure to Supervise

        In Count II, Plaintiff accuses the Board and Havel (in his official capacity6) of deliberate

indifference for failure to train and supervise Correctional Officer Defendants. A failure to

adequately train or supervise employees may subject a municipal entity to liability under § 1983

if this failure results from deliberate indifference. See City of Canton v. Harris, 489 U.S. 378,

388-91 (1989); Bryson v. City of Okla. City, 627 F.3d 784, 788 (10th Cir. 2010) (quotations

omitted); see also Schneider v. City of Grand Junction Police Dep’t, 717 F.3d 760, 773 (10th

Cir. 2013) (“A municipality can be liable where „the need for more or different training is so

obvious, and the inadequacy so likely to result in the violation of constitutional rights, that the

policymakers of the city can reasonably be said to have been deliberately indifferent to the

need.‟” (quoting City of Canton, 489 U.S. at 390)).

        Here, the Board and Havel argue that Plaintiff cannot show that the training and

supervision of Correctional Officer Defendants was inadequate, and they point to the existence

of a mandatory Suicide Prevention and Intervention Course as evidence that inmate suicide was

treated seriously at SJCADC. Quoting caselaw from a sister circuit, they assert that “[t]he

existence or possibility of other better policies which might have been used does not necessarily

mean that the defendant was being deliberately indifferent.” Frake v. City of Chicago, 210 F.3d

779, 782 (7th Cir. 2000) (citation omitted). However, by introducing evidence of purportedly

longstanding deficiencies at the facility and the Board‟s knowledge of such through Davis‟s

letter to Havel, Plaintiff has created a triable fact issue concerning whether the need for more or

different training or supervision was “obvious, and the inadequacy . . . likely to result in the

violation of constitutional rights” alleged in her complaint. See Schneider, 717 F.3d at 773


6
 Although the Board and Havel assert that Havel is entitled to qualified immunity, this defense cannot apply to
claims raised against him in his official capacity. See Brandon v. Holt, 469 U.S. 464, 471-73 (1985).

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(quoting City of Canton, 489 U.S. at 390). A rational jury could conclude that SJCADC officers

were properly supervised, that the SJCADC training regimen sufficed, and that inadequate

training did not lead to Stevens‟ death. Alternatively, a reasonable jury could conclude that

systemic problems in mental health treatment existed at SJCADC and that the facility‟s failure to

remedy these issues through additional training and appropriate supervision constituted

deliberate indifference. Accordingly, the Board is not entitled to summary judgment with respect

to Plaintiff‟s claims of deliberate indifference through failure to train or failure to supervise.

   III.      Federal Claims Against Havel

          Count II also alleges that Havel, in his individual capacity, failed to properly train and

supervise Correctional Officer Defendants and that these failures led to the violation of Stevens‟

constitutional rights and his death. The Board and Havel do not address these claims against

Havel on the merits, instead arguing that Havel is entitled to qualified immunity.

          “The doctrine of qualified immunity protects government officials „from liability for civil

damages insofar as their conduct does not violate clearly established statutory or constitutional

rights of which a reasonable person would have known.‟” Dodds, 614 F.3d at 1191 (quoting

Pearson v. Callahan, 555 U.S. 223, 231 (2009)); see also Mitchell v. Forsyth, 472 U.S. 511, 526

(1985) (“[Qualified immunity] is an immunity from suit rather than a mere defense to liability

. . . .”). “Once a defendant asserts qualified immunity, . . . „[t]he plaintiff must establish (1) that

the defendant violated a constitutional or statutory right, and (2) that this right was clearly

established at the time of the defendant‟s conduct . . . .‟” Dodds, 614 F.3d at 1191 (quoting

McBeth v. Himes, 598 F.3d 708, 716 (10th Cir. 2010)). “Ordinarily, in order for the law to be

clearly established, there must be a Supreme Court or Tenth Circuit decision on point, or the

clearly established weight of authority from other courts must have found the law to be as the



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plaintiff maintains.” Zia Trust Co. ex rel. Causey v. Montoya, 597 F.3d 1150, 1155 (10th Cir.

2010) (quotation omitted).

       The Board and Havel, relying on caselaw from outside the Tenth Circuit, assert that

“there is no general right of prisoners or detainees to be correctly screened for suicidal

tendencies or to be protected against committing suicide.” Soles v. Ingham Cnty., 316 F. Supp.

2d 536, 541 (W.D. Mich. 2004). Plaintiff, citing to more relevant authorities, retorts that “[i]t is

clearly established in the Tenth Circuit that the duty to provide adequate medical care to inmates

and even detainees under the Eighth and Fourteenth Amendments includes a duty to prevent

suicide.” Glover v. Gartman, 899 F. Supp. 2d 1115, 1147 (D.N.M. 2012) (citing, e.g., Barrie,

119 F.3d at 866).

       Both sides miss the mark. “The operation of [the qualified immunity] standard . . .

depends substantially upon the level of generality at which the relevant „legal rule‟ is to be

identified.” Anderson v. Creighton, 483 U.S. 635, 639 (1987). “It is not enough to look at

generalized legal principles.” Medina v. City and Cnty. of Denver, 960 F.2d 1493, 1497-98 (10th

Cir. 1992) (citing Anderson, 483 U.S. at 639-40), overruled on other grounds by Cnty. of

Sacramento v. Lewis, 523 U.S. 833 (1998). “Instead, for any court to reach a determination that a

violation of clearly established law has taken place[,] a „more particularized‟ inquiry is required.

The court must ask whether „every reasonable official would have understood that what he [did]

violate[d] that right.‟” Kerns v. Bader, 663 F.3d 1173, 1183 (10th Cir. 2011) (quotation omitted).

       As such, the question here is not whether a duty to “protect against” or “prevent” suicide

existed, but “whether it was beyond debate” that the specific conduct allegedly committed by

Havel was illegal at the time it occurred. See id. Plaintiff has not addressed this question. Rather

than alleging that Havel committed any specific conduct, Plaintiff‟s complaint simply asserts that



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his purported failure to supervise Correctional Officer Defendants “can be inferred from the

obviousness of the facts.” Plaintiff presents no allegations or evidence that Havel acted or failed

to act in any specific manner, and she cites no authority to stand for the proposition that any

supposed actions or failures to act constituted a violation of any constitutional right, let alone that

this right was clearly established. Plaintiff, who bears the burden to establish that Havel is not

entitled to qualified immunity, see Dodds, 614 F.3d at 1191, has therefore failed to meet this

burden with respect to her failure-to-supervise deliberate indifference claim.

       Nor does Plaintiff‟s failure-to-train deliberate indifference claim against Havel fare any

better. Plaintiff has not cited any Supreme Court or Tenth Circuit caselaw, let alone any weight

of authority from other circuits, for the proposition that Havel‟s specific conduct in failing to

sufficiently train the unnamed SJCADC employees violated clearly established constitutional

principles. Cf. Zia Trust, 597 F.3d at 1155 (quotation omitted). Although Plaintiff cites to Olsen

v. Layton Hills Mall to assert that the Board, through Havel, acted with deliberate indifference,

the plaintiff in that case “alleged facts showing that [the defendant] officers receive[d] absolutely

no training” on the relevant mental health concerns. See 312 F.3d 1304, 1319 (10th Cir. 2002)

(emphasis added). Here, by contrast, the undisputed evidence shows that Havel and the Board

required SJCADC officers to undergo at least some training to prevent suicide in the facility, so

Olsen is not directly “on point.” See Zia Trust, 597 F.3d at 1155. Although Plaintiff‟s argument

could go toward establishing that a genuine issue of material fact exists as to this claim, the

Court can only reach that question “[i]f, and only if, the plaintiff meets th[e] two-part test” for

refuting a qualified-immunity defense. See Rojas v. Anderson, 727 F.3d 1000, 1003 (10th Cir.

2013) (quotation omitted). Thus, even though the Court has concluded that the Board itself is not

entitled to judgment as a matter of law with respect to this claim, Count II must be dismissed as



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to Havel in his individual capacity since Plaintiff has not rebutted Havel‟s defense of qualified

immunity.

          Because Plaintiff cannot show that Havel violated a clearly established constitutional

right, Havel is entitled to qualified immunity as to Count II. Further, though Plaintiff has filed a

Rule 56(d) affidavit asking that the Court defer consideration of this motion, no amount of

additional discovery as to this claim will matter since Havel is qualifiedly immune to suit, and

Plaintiff has failed to cite any unavailable facts that would establish otherwise. See Mitchell, 472

U.S. at 526; see also Pearson, 555 U.S. at 231-32 (noting that the qualified immunity doctrine

seeks to ensure that “insubstantial claims against government officials” be resolved “prior to

discovery”). Accordingly, the Court concludes that the failure-to-supervise and failure-to-train

deliberate indifference claims against Havel must be dismissed.

    IV.       State Law Claims

          In addition to the federal claims against these Defendants, Plaintiff asserts that the Board

and Havel acted in violation of state law. The Court considers these claims in turn.

          A. Negligence

          In Count III, Plaintiff brings a claim of negligence against the Board and Havel pursuant

to the New Mexico Wrongful Death Act, N.M.S.A. 1978, §§ 41-2-1, et seq. The Board and

Havel point out that Plaintiff did not cite any specific waivers to the grant of immunity to

governmental entities and public employees found in the New Mexico Tort Claims Act

(“NMTCA”), N.M.S.A. 1978, § 41-4-1, et seq. Plaintiff does not respond to this argument,

although she does appear to contend that a waiver of immunity in N.M.S.A. 1978, § 41-4-127 is

applicable.


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  Plaintiff repeatedly cites to “NMSA 1978, section 41-4-2,” but she quotes provisions making it plain that she
intends to cite to § 41-4-12.

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       Governmental entities and their public employees acting within their scope of duty are

generally immune from liability for torts. See N.M.S.A. 1978, § 41-4-4(A). However, this

immunity is waived for “law enforcement officers . . . acting within the scope of their duties”

with respect to liability for certain enumerated torts as well as the “deprivation of any rights,

privileges or immunities secured by the constitution and laws of the United States or New

Mexico.” Id. § 41-4-12.

       The Board and Havel concede that they and their employees are “jailers” to whom the

waiver in § 41-4-12 applies. However, a claim of negligence does not trigger this waiver unless

the negligence is alleged to have caused the defendant to have committed one of the enumerated

torts, which is not the case here. See Lessen v. City of Albuquerque, 144 N.M. 314, 321-22 (Ct.

App. 2008). Moreover, because a deliberate indifference claim requires a higher level of

culpability than mere negligence, see Farmer, 511 U.S. at 835, Plaintiff cannot argue that any

purported negligence was tied to the constitutional deprivations alleged in her federal claims, see

Lessen, 144 N.M. at 322 (citations omitted). Accordingly, Count III must be dismissed as to the

Board and Havel.

       B. Deprivation of Rights, Privileges or Immunities

       The heading to Count IV implies that Plaintiff is bringing a NMTCA claim against the

unnamed SJCADC officers for deprivation of Stevens‟ constitutional protections against

deliberately indifferent treatment. In fact, subsequent paragraphs clarify that Plaintiff is actually

seeking to hold the Board and Havel liable under a theory of respondeat superior for the alleged

constitutional deprivations committed by these employees. Regardless, the Board and Havel

argue that no such liability can exist here because Plaintiff cannot establish that the unnamed

SJCADC officers acted with deliberate indifference.



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         For a respondeat superior claim to lie under the NMTCA, the defendant targeted by the

claim must have acted wrongfully through the conduct of its employees. See Silva v. State, 106

N.M. 472, 477 (1987). Here, the Court has already observed that the unnamed SJCADC

employees are entitled to summary judgment as to Plaintiff‟s Fourteenth Amendment claim of

deliberate indifference against them. Moreover, Plaintiff presents no argument that the

substantive due process protections under the New Mexico Constitution are any different for

present purposes than those provided by the United States Constitution, see Glover v. Gartman,

899 F. Supp. 2d 1115, 1154 (D.N.M. 2012) (citations omitted), and at any rate New Mexico

caselaw appears to substantially follow the federal analysis of deliberate indifference claims, see

id. (citing State v. Arrington, 115 N.M. 559, 561 (Ct. App. 1993); State v. Augustus, 97 N.M.

100, 101 (Ct. App. 1981)). Accordingly, Plaintiff‟s respondeat superior claim against the Board

and Havel under the NMTCA cannot survive, and those Defendants are entitled to summary

judgment as to Count IV.

         C. Third Party Beneficiary Breach of Contract Claim

         In Count V, Plaintiff asserts that Stevens was a third-party beneficiary of the contract

between CHC and SJCADC (i.e., the Board and Havel) and that these parties breached the

contract by failing to ensure that Stevens received proper medical and mental health treatment.

The Board and Havel moved for summary judgment, providing as an exhibit portions of a

contract between the Board and CHC‟s predecessor corporation “entered into as of August 1,

2001.”     This   contract   includes    a   provision,   headlined   “NO     THIRD       PARTY

BENEFICIARIES,” that reads:

         The enforcement of the terms and conditions of this Agreement and all rights of
         action relating to such enforcement, shall be strictly reserved to the County and
         Contractor, and nothing contained in this Agreement shall give or allow any such
         claim or right of action by any other or third person on such Agreement. It is the

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       express intention of the County and the Contractor that sub-contractors and any
       other person other than the County or the Contractor receiving any benefits from
       this Agreement shall be deemed to be incidental beneficiaries only.

See (Doc. 44 Ex. 13 at 2).

       A plaintiff may meet his burden of proving that he was a third-party beneficiary to a

contract “by relying on the unambiguous language of the agreement itself” or “extrinsic evidence

such as the circumstances surrounding the execution of the agreement.” Hansen v. Ford Motor

Co., 120 N.M. 203, 205 (1995) (citation omitted). However, the contract language provided by

the Board and Havel expressly and plainly precludes Plaintiff‟s claim that Stevens was an

intended beneficiary of the contract between the Board and CHC. Thus, at the time they filed the

summary judgment motion, the Board and Havel had met their initial burden to show that there

was an absence of evidence to support Plaintiff‟s case. See, e.g., Celotex, 477 U.S. at 323;

Bacchus Indus., 939 F.2d at 891. Thus, the burden shifted to Plaintiff to provide specific facts

showing that a triable issue of fact still exists on this breach of contract claim. See, e.g., Celotex,

477 U.S. at 324; Anderson, 477 U.S. at 256.

       Plaintiff has failed to meet her burden. Along with her response, she has submitted

portions of a contract between the Board and CHC that went into effect in 2009 and that would

appear to supersede the 2001 contract. However, even the relevant language in that contract

unambiguously provides that detainees are not the intended beneficiaries of the agreement:

       The parties agree that they have not entered into this AGREEMENT for the
       benefit of any third person or persons, and it is their express intention that this
       AGREEMENT is for their respective benefits only and not for the benefits of
       others who might otherwise be deemed to constitute third-party beneficiaries
       thereof.

See (Doc. 54 Ex. 11 at 5). The Court is unable to understand how Plaintiff could conclude from

this language that “the purpose and scope [of the contract] show the detention center inmates are

the intended beneficiaries of the Agreement between [the Board] and CHC,” let alone that “the

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Agreement definitively indicates that Defendants [the Board] and CHC intended to provide a

benefit to, among others, Mr. Stevens,” when the contract itself expressly states the opposite.

Despite bearing the burden to provide specific facts to rebut the Board and Havel‟s showing of

no genuine dispute of material fact, see, e.g., Celotex, 477 U.S. at 324, the most Plaintiff has

mustered is a more recent contract that precludes a third-party beneficiary claim just as much as

the earlier contract. Accordingly, the Board and Havel are entitled to judgment as a matter of law

as to Count V, and the Court grants these Defendants summary judgment on this claim.

                                          CONCLUSION

       For the foregoing reasons, the Board and Havel‟s motion for summary judgment (Doc.

43) is hereby GRANTED IN PART AND DENIED IN PART. Summary judgment is denied

with respect to all claims against the Board (and, by extension, official-capacity Correctional

Officer Defendants employed by SJCADC) in Counts I and II. Summary judgment is granted in

Defendants‟ favor with respect to all other claims against the Board, Havel, and individual-

capacity Correctional Officer Defendants employed by SJCADC.

       SO ORDERED



                                                    ________________________________
                                                    UNITED STATES DISTRICT JUDGE




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